Case 2:09-cr-00348-CB Document172 Filed 04/01/11

IN THE UNITED STATES DISTRICT COURT

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FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,

Vv.

SHANE HENNEN,
Defendant.

PLEA

AND NOW, the defendant,

SHANE HENNEN, in the

above entitled case hereby
withdraws his plea of

NOT GUILTY, entered March

8, 2010, and now pleads GUILTY
to counts one and six in open
court this lst day of April,
2011.

A.

SS

Attorney -

Criminal No. 09-348
